Case 3:16-cv-00463-BEN-JMA Document 181 Filed 07/09/18 PageID.17404 Page 1 of 5


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  14   Attorneys for Defendant and Counter Claimant Acacia Communications, Inc.
  15                               UNITED STATES DISTRICT COURT
  16                             SOUTHERN DISTRICT OF CALIFORNIA

  17   ViaSat, Inc.,                                     Case No. 3:16-cv-00463-BEN-JMA
       a Delaware corporation,
  18                                                     EX PARTE APPLICATION TO
  19                    Plaintiff                        CONTINUE THE UPCOMING
                        and Counter Defendant,           FINAL PRETRIAL CONFERENCE
  20                                                     AND RELATED DEADLINES
       v.
  21
       Acacia Communications, Inc.,                      Judge: Hon. Roger T. Benitez
  22   a Delaware corporation,                           Mag. Judge: Hon. Jan M. Adler
  23
                        Defendant                        NO ORAL ARGUMENT
  24                    and Counter Claimant.            APPLICATION UNDER
  25                                                     SUBMISSION

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       Ex Parte Application To Continue The Upcoming                    Case No. 3:16-CV-00463-BEN-JMA
       Final Pretrial Conference and Related Deadlines
Case 3:16-cv-00463-BEN-JMA Document 181 Filed 07/09/18 PageID.17405 Page 2 of 5


   1           TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2           PLEASE TAKE NOTICE that Defendant and Counter Claimant Acacia
   3   Communications, Inc. (“Acacia”) applies for an Order to continue the upcoming
   4   August 6, 2018 Final Pretrial Conference and related pretrial deadlines until after the
   5   resolution of the parties’ seven pending and potentially dispositive motions for
   6   summary judgment and to strike and/or exclude expert opinion testimony.
   7   Continuing the Final Pretrial Conference and related pretrial deadlines would avoid
   8   unnecessarily consuming the Court’s and the parties’ resources while the motions are
   9   pending.
  10           The Court scheduled the Final Pretrial Conference for less than a month from
  11   now, on August 6, 2018, at 10:30 AM. (Dkt. No. 168). Pursuant to the Court’s order,
  12   a number of other pre-trial filings and submissions will be due over the course of next
  13   month, with deadlines falling on July 9, 16, 20, and 30. (Id.).
  14           Good cause exists for continuing the Final Pretrial Conference and these other
  15   pretrial deadlines. As the Court is aware, the parties have seven pending motions,
  16   several of which are potentially dispositive. (Dkt. Nos. 75, 83, 86, 89, 93, 95, 98). The
  17   Court had previously consolidated the hearings on these motions into a single hearing
  18   date, set for April 30, 2018. (Dkt. No. 152, 157). The Court thereafter vacated the
  19   hearings. (Dkt No. 160). Resolving those motions may also resolve some or all of the
  20   issues in dispute in this case, and certainly would affect the parties’ pretrial disclosures
  21   leading up to the Final Pretrial Conference.
  22           It would be inefficient and impractical for the parties to prepare pretrial
  23   disclosures without knowing what issues (if any) remain for trial; and accordingly the
  24   Court’s and the parties’ pretrial efforts may be wasted, in whole or in part. Hence,
  25   both the Court and the parties will benefit from continuing the Final Pretrial
  26   Conference and associated deadlines until after the Court resolves the pending
  27   motions.
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       Ex Parte Application To Continue The Upcoming                     Case No. 3:16-CV-00463-BEN-JMA
       Final Pretrial Conference and Related Deadlines                                                1
Case 3:16-cv-00463-BEN-JMA Document 181 Filed 07/09/18 PageID.17406 Page 3 of 5


   1           Acacia therefore respectfully requests that the Court issue an amended
   2   scheduling order in the proposed form emailed to chambers. This Ex Parte
   3   Application is based on the good cause set forth above, and all of the pleadings and
   4   exhibits on file herein.
   5
   6
       Date: July 9, 2018                                Respectfully Submitted,
   7
                                                         WOLF, GREENFIELD & SACKS, P.C.
   8
   9                                                     By: s/Michael A. Albert
                                                         Michael A. Albert
  10
                                                         Hunter D. Keeton
  11                                                     Stuart V. C. Duncan Smith
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                                                         Attorneys for Defendant and Counter
  13                                                     Claimant Acacia Communications, Inc.
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       Ex Parte Application To Continue The Upcoming                    Case No. 3:16-CV-00463-BEN-JMA
       Final Pretrial Conference and Related Deadlines                                              2
Case 3:16-cv-00463-BEN-JMA Document 181 Filed 07/09/18 PageID.17407 Page 4 of 5


   1                              LOCAL RULE 83.3(G) DECLARATION
   2           On July 9, 2018, I conferred with counsel for ViaSat, Inc., at which time I
   3   provided notice of Acacia Communications, Inc.’s Ex Parte Application To Continue
   4   The Upcoming Final Pretrial Conference and Related Deadlines. I declare under
   5   penalty of perjury that the foregoing is true and correct.
   6
       Date: July 9, 2018                                s/Michael A. Albert
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                                                         Michael A. Albert
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       Ex Parte Application To Continue The Upcoming                   Case No. 3:16-CV-00463-BEN-JMA
       Final Pretrial Conference and Related Deadlines                                             3
Case 3:16-cv-00463-BEN-JMA Document 181 Filed 07/09/18 PageID.17408 Page 5 of 5


   1                                     CERTIFICATE OF SERVICE
   2
               I certify that today I am causing to be served the foregoing document by
   3
       CM/ECF notice of electronic filing upon the parties and counsel registered as
   4
       CM/ECF Users. I further certify that, to the extent they are not registered CM/ECF
   5
       Users, I am causing the foregoing document to be served by electronic means via
   6
       email upon counsel for ViaSat, Inc., per the agreement of counsel.
   7
   8   Date: July 9, 2018                                s/Michael A. Albert
                                                         Michael A. Albert
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       Ex Parte Application To Continue The Upcoming                   Case No. 3:16-CV-00463-BEN-JMA
       Final Pretrial Conference and Related Deadlines                                             4
